                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                           CASE NO. 3:24-CV-137-RJC-DCK

 CMT USA, INC. and                                 )
 CMT UTENSILI S.P.A.,                              )
                                                   )
                 Plaintiffs,                       )                     ORDER
                                                   )
    v.                                             )
                                                   )
 APEX TOOL GROUP LLC and                           )
 APEX BRANDS, INC.,                                )
                                                   )
                 Defendants.                       )
                                                   )

         THIS MATTER IS BEFORE THE COURT on Plaintiffs’ “Motion To Seal” (Document

No. 134) filed November 21, 2024. This motion has been referred to the undersigned Magistrate

Judge pursuant to 28 U.S.C. § 636(b), and immediate review is appropriate. Having carefully

considered the motion and the record, and noting Defendants’ consent, the undersigned will grant

the motion.

         A party who seeks to seal any pleading must comply with the Local Rules of this Court.

Local Civil Rule(“LCvR”) 6.1 provides in relevant part as follows:

         LCvR. 6.1     SEALED FILINGS AND PUBLIC ACCESS.

                (a)     Scope of Rule. To further openness in civil case
                proceedings, there is a presumption under applicable common law
                and the First Amendment that materials filed in this Court will be
                filed unsealed. This Rule governs any party’s request to seal, or
                otherwise restrict public access to, any materials filed with the Court
                or used in connection with judicial decision- making. As used in
                this Rule, “materials” includes pleadings and documents of any
                nature and in any medium or format.

                (b)    Filing under Seal. No materials may be filed under seal
                except by Court order, pursuant to a statute, or in accordance with a
                previously entered Rule 26(e) protective order.




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               (c)     Motion to Seal or Otherwise Restrict Public Access. A
               party’s request to file materials under seal must be made by formal
               motion, separate from the motion or other pleading sought to be
               sealed, pursuant to LCvR 7.1. Such motion must be filed
               electronically under the designation “Motion to Seal.” The motion
               must set forth:

                      (1)     A non-confidential description of the
                      material sought to be sealed;
                      (2)     A statement indicating why sealing is
                      necessary and why there are no alternatives to filing
                      under seal;
                      (3)     Unless permanent sealing is sought, a
                      statement indicating how long the party seeks to have
                      the material maintained under seal and how the
                      matter is to be handled upon unsealing; and
                      (4)     Supporting statutes, case law, or other
                      authority.

LCvR 6.1. It appears that the requirements of LCvR 6.1(c)(1) through (4) have been addressed.

       By the instant motion, Plaintiffs seek to seal Exhibit C (Document Nos. 133-3 and 135-1)

to “Plaintiff’s Reply In Support Of Their Motion To Compel Defendants To Produce Third Party

Communications” (Document No. 133). (Document No. 134).

       Having considered the factors provided in LCvR 6.1(c), and Defendants’ consent, the Court

will grant the motion to seal. Noting that the time for public response has not run to this motion,

the Court will consider any objection to this Order from non-parties as an objection to the motion,

requiring no additional burden for any non-party under the Federal Rules of Civil Procedure. See

Local Rule 6.1(e).

       IT IS, THEREFORE, ORDERED that Plaintiffs’ “Motion To Seal” (Document No. 134)

is GRANTED. Exhibit C (Document Nos. 133-3 and 135-1) shall remain under SEAL until

otherwise ordered by this Court.




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       IT IS FURTHER ORDERED that Plaintiffs’ counsel shall file publicly available

redacted versions of Exhibit C (Document Nos. 133-3 and 135-1), on or before December 6, 2024.

Redactions should be applied only to the extent necessary.

       SO ORDERED.

                                 Signed: November 25, 2024




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